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aim U.S. !`l’f“
-v- 2:94cR20217-o1-Ml W“D GF iniTPw(YW
ALLEN ALExANDER MAsoN

Charles Wa|dman Retained
Defense Attorney

200 Jef'ferson Avenue, #210
Memphis, TN 38103

 

 

*A-M-E-N-D-E-D JUDGMENT IN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 1 and 2 of the indictment on March 17, 1995.

Accordingiy, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title & Section NMMM Offense Numberjsj
Q<L|ud_e_d
21 U.S.C. § 841(a)(1) Unlawfu| Possession with intent to 10/04/1994 1
and 18 U.S.C. § 2 Distribute Cocaine & Aiding and
Abetting
18 U.S.C. § 924(c) Possession of a Firearm During Drug 10/04/1994 2

Trafficking Crime

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

|T IS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant`s Soc. Seo. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 03/12/1968 December 23, 1997
Deft’s U.S. Marsha| No.: 14902-076

Defendant’s |Vlailing Address:
3294 Norton

Memphis, Tn 38109 /QYQ mm loy/px
N PHIPPS MCCALLA
UN| D ATES DlSTRlCT JUDGE
This document entered on the docket sheet in comp*w¥.ag/`» 2005
with Fiu|e 55 and/or 32(b) FHCrP on '7'“[21}§

 

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lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of *162 Months as to Count 1 and 162 Months as to

Count 2. Counts 1 and 2 are to be served concurrently with each other for a total term
of incarceration of 162 Months.

 

The defendant is remanded to the custody of the United States Marsha|.

RETURN

i have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marsha|

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SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 5 years as to Count1 and 5 years as to Count 2. Counts 1 and 2 are to be
supervised concurrently with each other for a total term of supervision of 5 years.

The_ defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudiciai district without the permission of the court or probation oft”icer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schoolingl training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;

6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use.

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlted substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminai activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation omcer within 72 hours of being arrested or questioned by a
law enforcement officer;

11.

12.

13.

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The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notincations and to confirm the defendants compliance with such
notification requirementl

lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADDIT|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised

release:

1.

2.
§

The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Officer.

The defendant shall be denied all Federa| Benefits for a period of 5 years.

*The defendant shall cooperate with DNA collection as directed bvthe Probation Ofncer.

CR|M|NAL MONETARY PENALTIES

The defendant shall paythe following total criminal monetary penalties in accordance

with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00

The Special Assessment shall be due immediately.
F|NE
No fine imposed.
REST|TUT|ON

No Restitution was ordered.

   
 

  

A

 

'ESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 127 in
ease 2:94-CR-20217 Was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed.

 

 

Charles E. Waldman
WALDMAN & ASSOCIATES
200 Jefferson Ave.

Ste. 210

1\/1emphis7 TN 38103

Joseph C Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Stuart .1. Canale

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable Jon MeCalla
US DISTRICT COURT

